









Affirmed and Opinion filed August 1, 2002









Affirmed and Opinion filed August 1, 2002.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-02-00147-CR

____________

&nbsp;

RODERICK D. DRAPER, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On
Appeal from the 209th District Court

Harris County, Texas

Trial
Court Cause No. 870,654

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O
P I N I O N

Appellant was convicted of the offense of possession of a
controlled substance, namely cocaine.&nbsp; On
January 16, 2002, the trial court sentenced appellant to confinement for
twenty-five years in the Institutional Division of the Texas Department of
Criminal Justice.&nbsp; Appellant filed a
notice of appeal.








Appellant=s appointed counsel filed a brief in which she concludes that
the appeal is wholly frivolous and without merit.&nbsp; The brief meets the requirements of Anders
v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967), by
presenting a professional evaluation of the record demonstrating why there are
no arguable grounds to be advanced.&nbsp; See
High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978).

A copy of counsel=s brief was delivered to
appellant.&nbsp; Appellant was advised of the
right to examine the appellate record and file a pro se response.&nbsp; See Stafford v. State, 813 S.W.2d 503,
510 (Tex. Crim. App. 1991).&nbsp; As of this
date, no pro se response has been filed.

We have carefully reviewed the record and counsel=s brief and agree that the appeal is
wholly frivolous and without merit.&nbsp;
Further, we find no reversible error in the record.&nbsp; A discussion of the brief would add nothing
to the jurisprudence of the state.

Accordingly, the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Opinion
filed August 1, 2002.

Panel consists of Justices Yates,
Anderson, and Frost. 

Do not publish C Tex. R. App. P. 47.3(b).





